                Case 1:15-cv-14137-DJC Document 1 Filed 12/14/15 Page 1 of 1

ORLANDO RILEY
                                                                                     CIVIL ACTION


vs
                                                                                     NO.
MASSACHUSETTS STATE POLICE AND TROOPER LIMA



1. The Plaintiff Orlando Riley is a resident of Dartmouth, Bristol County, Massachusetts a citizen of the
United States
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2. The Defendant The Massachusetts State Police and Robert Lima headquarters in Ffsjnniighalfi, h^dlesex
County, a citizen of the United States.                                                 ' ,^           r~
                                                                                          ^            '^2]
3. The Defendant The Massachusetts State Police and Robert Lima headquarters in Eramingh^, Mi(}a(lesex
County, a citizen of the United States.                                                           3    n

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4. This court has jurisdiction over this matter pursuant to 28 U.S.C. 1332.
                                                                                                ->vJ


5.
       This centers on the decision by the Massachusetts State Police (MSP) to reject me as an African-

American applicant who attained a perfect scoreon the MSP writtenexamination and passedall preliminary

tests, but was derailed by the final obstacle: my interview by a single state trooper. I Orlando Riley claim that

the interview process was characterized by lengthy, aggressively adversarial, racially-tinged questioning;

misreporting of my responses to questions; and a rush to mischaracterize accurate responses as untruthful, all

in sharp contrastto the treatment of non-African-American candidates who successfully navigated this highly

subjective final assessment. There is overwhelming evidence of discriminatory treatment used by Trooper

Robert Lima and the Massachusetts State Police that led to the organization not hiring me based on my race.

6. Plaintiff demandsjudgment against the defendants for damages and such other relief as the Court deems

fit.


7. Plaintiff demands a trial by jury.

                                                            Orlando Riley

                                                          60 Slocum Farm Drive


                                                         Dartmouth MA 02747 (508) 989-5329
